          Franklin
         Case:
0F241 - D85
                   County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD          of the
                                             Doc      Common
                                                   #: 3         Pleas- 2020
                                                        Filed: 10/20/20  Page:  1 of 21PM-20CV006061
                                                                            Sep 143:08  PAGEID #: 58



                       IN THE COURT OF COMMON PLEAS, FRANKLIN COUNTY, OHIO
                                          CIVIL DIVISION


           Moshe Scheinbach
           284 Olentangy Street
           Columbus, OH 43202

                                 Plaintiff,

                  V.

           Neutron Holdings, Inc.
           dba Lime                                      :   CASE NO.
           c/o CT Corporation System
           4400 Easton Commons Way
           Suite 125                                         JUDGE
           Columbus, OH 43219

                  and

           John Doe(s)
           Current address(es)
           and identity(ies) unknown                         JURY DEMAND ENDORSED HEREON

                                  Defendants.

                                                  COMPLAINT

                  Plaintiff, Moshe Scheinbach, ("Plaintiff'), who, as more fully set forth herein, was

           injured on September 28, 2018, for his Complaint, states as follows:

           PARTIES AND BACKGROUND:

                 1. At all times hereinafter mentioned, Defendant(s) John Doe(s)(Defendant Doe")

                       whose current identity(ies) and address(es) is/are unknown, but whose

                       addresses are reasonably expected to be in Franklin County, Ohio, was/were the

                       employee(s) and/or servant(s) and/or agents and/or independent contractors of

                       Defendant Neutron Holdings, Inc dba Lime ("Defendant Lime"), a Delaware

                       corporation licensed and doing business in Franklin County and elsewhere in
           Franklin
          Case:  2:20-cv-05511-MHW-EPD        Doc
                    County Ohio Clerk of Courts     #: 3Common
                                                of the   Filed: 10/20/20  Page:
                                                                 Pleas- 2020     2 of
                                                                             Sep 14   21PM-20CV006061
                                                                                    3:08 PAGEID #: 59
0F24]. - D86




                     Ohio. Defendant Lime's webpage identifies Columbus, Ohio, as a location in

                     which it does business and deploys its scooters as described below.

                    (https:www.li.me/locations)

                 2. Defendant Lime is the owner and operator of dockless electric scooters which it

                     deploys or causes to be deployed throughout Franklin County, Ohio, and

                     elsewhere in the United States and overseas.

                 3. The scooters are a "product" as defined in RC §2307.71(A)(12) within the

                     meaning of The Products Liability Act,. Ohio Revised Code §2307.71 through

                    §2307.80.

                 .4. Defendant Lime is a "supplier" as defined in RC §2307.71(A)(15) within the

                     meaning of The Products Liability Act, Ohio Revised Code §2307.71 through

                    §2307.80.

                 5. Defendant Lime is a "manufacturer" as defined in RC §2307.78(B)(7) or

                    elsewhere of The Products Liability Act, Ohio Revised Code §2307.71 through

                    §2307.80.

                 6. Defendant Lime as a supplier, producer, rebuilder, tester, marketer and/or

                     manufacturer placed the scooter(s) into the stream of commerce, and expected

                    said scooter(s) to reach Plaintiff without change in the condition in which they

                    were originally sold or deployed.

                 7. Plaintiff is a resident of Columbus, Franklin County, Ohio,. who, on or about

                    September 28, 2018, was the operator of a scooter deployed by Defendant Lime

                    and/or Defendant Doe(s).




                                                        2
          Franklin
         Case:     County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD          of the
                                             Doc      Common
                                                   #: 3         Pleas- 2020
                                                        Filed: 10/20/20     Sep 14
                                                                         Page:     3:08
                                                                                3 of 21PM-20CV006061
                                                                                        PAGEID #: 60
0F241 - D87




                 8. The scooters deployed by Defendant(s) Lime and/or Doe(s) are controlled by

                     accessing an App created and/or maintained by Defendant Lime for the purpose

                     of the public using and operating the scooters which it deploys in Franklin

                     County, Ohio and elsewhere.

                 9. The scooters have no seats or foot pedals and are powered by electric

                     rechargeable batteries.

                 10.The operator(s) of scooters deployed by Defendant Lime(s) and/or Doe(s) stand.

                     on a platform mounted on wheels ("baseboard") and hold onto a handlebar that

                     is attached to or molded into the baseboard.

                 1 1: Defendant Doe(s) is/are/include "juicers" who, on behalf of Defendant Lime,

                     nightly pick up from the streets of Franklin County, bhio, and elsewhere   where
                     they are deployed, electric scooters placed by Defendant Lime and re-charge the

                    electric scooters owned and operated by Defendant Lime, returning them the

                     next day to the streets of Franklin County, Ohio and elsewhere.

                 12. Defendant Doe(s) is/are/include maintenance personnel employed by Defendant

                     Lime to examine, repair and maintain the scooters deployed in Franklin County,

                     Ohio, and elsewhere.

                 1 3. Defendant Doe(s) duties, include, inspecting the' scooters for damage, needed

                     repairs or maintenance.

                 14. Defendant Doe(s) duties, upon information and belief, include taking damaged

                    scooters or scooters in need of repair out of service and off the streets of

                     Franklin County, Ohio, and elsewhere.




                                                       3
          Franklin
         Case:     County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD        Doc   #: 3Common
                                               of the   Filed: 10/20/20  Page:
                                                                Pleas- 2020 Sep 4 of 21 PM-20CV006061
                                                                                143:08   PAGEID #: 61
0F241 - D88




                  15. Since Defendant(s) Lime and/or Doe(s) began deploying scooters in Franklin

                     County, Ohio, and elsewhere, there have been a number of reports of injuries

                     suffered by operators of the scooters.

                  16.The scooters as deployed by Defendant Lime, including, but not limited to, the

                     scooter provided to Plaintiff, were defectively designed and/or manufactured

                     and/or were defective when deployed by Defendant Lime and/or were defective

                     due to inadequate warning or instruction in violation of, among others, §2307.73,

                     §2307.74, §2307.75, and §2307.76 of The Products Liability Act, Ohio Revised

                     Code §2307.71 through §2307.80.

                 17. Scooter operators have reported injuries resulting from equipment failures. See,

                     e.g. Peter Holley, Lime scooter nders are being injured by 'sudden excessive

                     braking,'   company     says,   WASHINGTON           POST    (Feb.   25,   2019),

                    !Apt sliwww.washincgonpost.comitech nology/2019102/2511im e-scooter-riders-are-

                     being-injured-by-sudden-excessive-braking-corn pnav-adm its/; Arm an Azad, That

                     electric scooter might be fun. It also might be deadly, CNN, Oct. 1, 2018,

                     htttps://www.cnn.com/2018/09/29/health/scooter-injuries/index.htm I.; See, Ryan

                     Felton, E-Scooter Ride-Share Industry leaves Injuries and Angered Cities in its

                     path,   CONSUMER        REPORTS,         Feb.   5,   2019,   https://www.consumer

                     reports.org/product-safety/e-scooter-ride-share-industry-leave-injuries-and-

                     angered-sities-in-its-path/; Plan on hopping on a scooter? Watch Yourself.

                    .COLUMBUS DISPATCH, Dec. 30, 2019, https://www.dispatch.cominewsi

                    20191228/plan-on-hopping-on-scooter-watch-yourself.




                                                        4
         Case:  2:20-cv-05511-MHW-EPD
          Franklin County Ohio Clerk of CourtsDoc  #: Common
                                               of the 3 Filed: 10/20/20  Page:
                                                                Pleas- 2020      5 of 21PM-20CV006061
                                                                            Seri 143:08  PAGEID #: 62
0F241 - D89




                 18. A July 2019 Consumer Reports investigation stated that there had been eight

                     deaths related to scooter accidents and thousands of injuries.                   See,

                     https://ransumerreports,orq/product-safetyideaths-tied-to-e-scooters/.

                  19. Science News has reported a. 222% increase in injuries related to scooters

                     during the period 2014-2018. See, https://scinecenews/org/article/electric-

                     scooter-injuries-rose-222-percent-4-years-united-states.

                 20. During operation of the scooter the baseboard should remain intact and not

                     break or separate.

                 21. The baseboard of the scooter being operated by Plaintiff broke as more fully

                     described herein.

                 22. The scooter was in a defective condition when deployed by Defendant Lime

                     and/or Defendant Doe(s) and when provided for Plaintiffs use.

                 23. Operators of scooters deployed by Defendant(s) Lime and/or Doe(s) and others

                     have been injured when the scooter suffered structural failure(s) including, but

                     not limited to, the baseboard on which the operator stands breaking or

                     separating.

                 24. Defendant(s) Lime and/or Doe(s) knew or should have known prior to September

                     28, 2018, of the injuries caused by the structural failure(s) of the scooters.

                 25. The deployment of scooters of the type deployed by Defendant(s) Lime and/or

                     Doe(s), and as deployed by Defendant(s) Lime and/or Doe(s) have been banned

                     or restricted in some cities in the United States and elsewhere.
          Franklin
         Case:     County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD          of the
                                             Doc   #: 3Common
                                                        Filed: 10/20/20  Page:
                                                                Pleas- 2020 Sep 6 of 21 PM-20CV006061
                                                                                143:08   PAGEID #: 63
0F241 - D90




                 26. Prior to September 28, 2018, Defendant(s) Lime and/or Doe(s) knew or should

                     have known that scooters deployed and maintained by Defendant(s) Lime and/or

                     Doe(s) were subject of recalls by the Consumer Product Safety Commission.

                 27. Prior to September 28, 2018, Defendant(s) Lime and/or Doe(s) knew or should

                 •   have known that scooters deployed and maintained by Defendant(s) Lime and/or

                     Doe(s) were recalled due to the fact that the scooters were suffering structural

                     failures including, but no limited to, baseboards breaking or separating at or near

                     where the operator stands and that at the time of the failure the operator(s) were

                     suffering injury.

                 28. Prior to September 28, 2018, Defendant Lime knew or should have known that it

                     had been advised by its employees, agents, and contractors, including juicers

                     and maintenance repair personnel, as well as by operators of scooters deployed

                     by Defendant Lime, that the scooters deployed by Defendant Lime were

                     susceptible to, and suffering from, cracking and other structural failures resulting

                     in, among other things, baseboards breaking or separating at or near where the

                     operator stands and injury to the operator(s).

                 29. Prior to September 28, 2018, Defendant(s) Lime and/or Defendant Doe(s), with

                     knowledge, either actual or constructive, of the fact that scooters deployed by

                     Defendant(s) Lime and/or Doe(s) were defective and/or susceptible to, and

                     suffering from, cracking and other structural failures resulting in, among other

                     things, baseboards breaking or separating at or near where the operator stands

                     and injury to the operator(s), and knowing that the scooters had been recalled




                                                        6
         Case:  2:20-cv-05511-MHW-EPD
          Franklin County Ohio Clerk of Courts of the
                                             Doc      Common
                                                   #: 3 Filed: 10/20/20     Sep 143:08
                                                                         Page:
                                                                Pleas- 2020     7 of 21PM-20CV006061
                                                                                        PAGEID #: 64
0F241 - D91




                     and/or banned in many locations, failed or otherwise refused to cease the

                     practice of deploying scooters in Franklin County, Ohio, and elsewhere.

                 30. On or prior to September 28, 2018, Defendant Lime and/or Defendant Doe(s)

                     knew or should have known the nature and magnitude of the danger and harm

                     associated with the potential injuries and .harm resulting from prior incidents of

                     structural failure and the use of the scooters by foreseeable users such as

                     Plaintiff.

                 31. On September 28, 2018, Plaintiff, was the operator of a scooter deployed and/or

                     maintained and/or repaired by Defendant(s) Lime and/or Doe(s).

                 32. Plaintiff began operation of the scooter at or near the intersection of Olentangy

                     Street and Indianola Avenue in Columbus, Franklin County, Ohio.

                 33. Plaintiffs use and operation of the scooter deployed and maintained by

                     Defendant (s) Lime and Doe(s) was exactly as he was required and expected to

                     do so.

                 34. Shortly after Plaintiff began operating the scooter in Columbus, Franklin County,

                     Ohio, the scooter suffered a structural failure.

                 35. After traveling a very short distance in Columbus, Franklin County, Ohio, the

                    scooter suffered a structural failure.

                 36.The scooter provided to Plaintiff was defective and/or defective within the

                     meaning and application of The Products Liability Act, Ohio Revised Code

                    §2307.71 through §2307.80.

                 37. Breaking or suffering a structural failure is not to, or should not, occur while the

                    operator is riding the scooter.
          Franklin
         Case:     County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD        Doc   #: 3Common
                                               of the   Filed: 10/20/20  Page:
                                                                Pleas- 2020     8 of
                                                                            Sep 14   21 PM-20CV006061
                                                                                   3:08  PAGEID #: 65
0F241 - D92




                 38. An operator of a scooter is susceptible to injury if a scooter breaks in two or

                     suffers a structural failure while being operated.

                 39. It is foreseeable that the user of a scooter that sufferers a structural failure such

                     as the baseboard breaking will be injured.

                 40. At the time the scooter deployed and maintained by Defendant(s) Lime and/or

                     Doe(s) broke in two Plaintiff was thrown from the scooter, suffering serious

                     injuries.

                 41. The injuries suffered by Plaintiff resulted from the structural failure of the

                     defective scooter deployed by Defendant Lime and/or Defendant Doe(s).

                 42. The injuries suffered by Plaintiff required surgery' including the placement of

                     internal fixation devices in his leg/ankle.

                 43. As the result of the injuries suffered by Plaintiff, medical expenses in excess of

                     Forty Thousand and 00/100 Dollars($40,000.00) were incurred.

                 44. As the result of the injuries suffered by Plaintiff, Plaintiff incurred additional

                     damages including, but not limited to the loss of income and the impairment of

                     Plaintiffs earning capacity.

                 45. As the result of the injuries suffered by Plaintiff it is expected that he will incur

                    additional medical bills in the future and will suffer a permanent impairment.

                 46. On or about December 17, 2018, Plaintiff gave Defendant Lime notice of the

                     injury and claim related to the structural failure of the scooter and breaking of the

                     baseboard. .




                                                          8
          Franklin
         Case:     County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD          of the
                                             Doc   #: Common    Pleas- 2020
                                                      3 Filed: 10/20/20     Sep 143:08
                                                                         Page:  9 of 21PM-20CV006061
                                                                                        PAGEID #: 66
0F241 - D93




                 47. Upon receipt of notice of the claim and dispute concerning the structural failure

                     of the scooter and breaking of the baseboard, as well as the injury to Plaintiff,

                     Defendant Lime assigned claim number 0928MS to Plaintiff's claim.



           COUNT ONE:

                 48. Plaintiff   incorporates   herein by reference each and every statement and

                     allegation of paragraphs one (1)though forty-seven (47) above.

                 49. On or prior to September 28, 2018, Defendant Doe(s) individually, independently

                     and/or while acting within the course and scope of his/her/their employment

                     and/or agency with Defendant Lime, was/were negligent in the performance of

                     his/her/their duties and/or were negligent in failing to notice, correct or repair the

                     scooter operated by, and which suffered a structural failure while being operated

                     by, Plaintiff and/or were negligent in deploying the scooter on September 28,

                    2018.

                 50. On or about September 28, 2018, Defendant Doe(s) individually, independently

                     and/or while acting within the course and scope of his/her/their employment

                     and/or agency with Defendant Lime, owed a duty to Plaintiff not to negligently

                     perform his/her/their duties and not place or deploy a scooter for use by Plaintiff

                     or others that was susceptible to structural failure or in need of repair or

                     maintenance.

                 51. Defendant Doe(s) individually, independently and/or while acting within the

                     course and scope of his/her/their employment and/or agency with Defendant
          Franklin
        Case:      County Ohio Clerk of Courts
               2:20-cv-05511-MHW-EPD        Docof #:
                                                  the3Common   Pleas- 2020
                                                       Filed: 10/20/20     Sep10
                                                                       Page:   143:08
                                                                                 of 21PM-20CV006061
                                                                                       PAGEID #: 67
0F241 - D94




                    Lime, were negligent and/or failed in the performance or fulfillment of his/her/their

                    duty to Plaintiff.

                 52.The negligent act(s) or omission(s) on the part of or committed or omitted by

                    Defendant Doe(s) while in the course and scope of his/her/their employment

                    with, or as the agent of, Defendant Lime, are imputed to Defendant Lime.
                 53. The negligent act(s) and omission(s) and/or gross negligence of Defendant

                    Doe(s) individually, independently and/or while acting within the course and

                    scope of his/her/their employment and/or agency with Defendant Lime, were with

                    malice and conscious disregard for the rights and safety of Plaintiff.

                 54. As the direct and proximate result of the joint and/or several and/or

                    independently and/or imputed negligence of Defendant Doe(s) and Defendant

                    Lime, Plaintiff suffered serious physical injuries, including, but not limited to injury

                    to his ankle requiring surgery and internal fixation; some of said injuries which

                    are and/or may be permanent in nature.

                 55. As a direct and proximate result of the aforementioned joint and/or several

                    and/or independently and/or imputed negligence and/or gross negligence of

                    Defendant Doe(s)and Defendant Lime, Plaintiff has incurred expenses in excess

                    of Forty Thousand and 00/100 Dollars ($40,000.00) for medical treatment and

                    hospital expenses and may incur additional expenses for"medical treatment in

                    the future. Some of said expenses may be subrogated.

                56. As a direct and proximate result of the aforementioned joint and/or several

                    and/or independently and/or imputed negligence and/or gross negligence of

                    Defendant Doe(s) and Defendant Lime and resulting injury, Plaintiff has lost or



                                                         10
          Franklin
         Case:     County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD       Docof the
                                                  #: 3Common   Pleas- 2020
                                                       Filed: 10/20/20     Sep11
                                                                        Page: 143:08
                                                                                 of 21PM-20CV006061
                                                                                        PAGEID #: 68
0F241 - D95




                     had impaired the use of his physical faculties, suffered pain and mental

                    anguish, embarrassment, humiliation and fright and will continue to suffer

                    same in the future.

                 57. As a direct and proximate result of the aforementioned joint and/or several

                    and/or independently and/or imputed negligence and/or gross negligence of

                     Defendant Doe(s) and Defendant Lime and resulting injury, Plaintiff has

                    suffered a loss of income and is reasonably expected to suffer a loss of future

                     income and has had his future earning capacity impaired.

           COUNT TWO:

                 58. Plaintiff incorporates herein the allegations contained in paragraphs one (1)

                    through fifty-seven (57)above as if fully rewritten herein.

                 59. In the alternative or addition to the aforementioned joint and/or several and/or

                     independently and/or imputed negligence and/or gross negligence of

                    Defendant Doe(s) and Defendant Lime, Defendant Lime was negligent in the

                    hiring, retaining, training and supervising of Defendant Doe(s).

                 60. Defendant Doe(s) were incompetent and negligent in the performance of

                    his/her/their duties and Defendant Lime should have had actual and/or

                    constructive knowledge of such incompetence and negligence.

                 61. Defendant Doe(s) and Defendant Lime owed to Plaintiff a.duty of care and/or

                    duty which was breached by, among other things:

                         a. Failure to devise, implement and follow a proper plan to ensure that

                            scooters in need of repair, maintenance or recall were not placed into

                            service or deployed;



                                                       11
           Franklin
         Case:  2:20-cv-05511-MHW-EPD        Doc
                    County Ohio Clerk of Courts of #:
                                                   the3Common
                                                        Filed: 10/20/20 Page:
                                                                Pleas- 2020 Sep12 of 21PM-20CV006061
                                                                                143:08  PAGEID #: 69
0F24]. - D96




                        • b. Placing into service a scooter in need of repair, maintenance or recall;

                         c. Failing to be properly trained, equipped or supervised in the discovery of,

                            and removal from service of, scooters in need of repair or maintenance;

                            and

                         d. Failure to warn Plaintiff of the scooter(s) susceptibility to suffering a

                            structural failure.

                 62. As a direct and proximate result of the aforementioned negligence and/or gross

                     negligence of Defendant Lime and Doe(s) acting jointly and/or severally and/or

                     independently and/or in concert, Plaintiff suffered injuries as set forth and

                     incorporated herein, some of said injuries being permanent in nature.

                 63.As a direct and proximate result of the aforementioned negligence and/or

                    gross negligence of Defendant Lime and Doe(s), acting jointly and/or severally

                    and/or independently and/or in concert, Plaintiff incurred expenses in medical

                    treatment and hospital expenses as set forth and incorporated herein, and may

                    incur additional expenses for medical treatment in the future. Some of said

                    expenses may be subrogated.

                64. As a direct and proximate result of the aforementioned negligence and/or gross -

                    negligence of Defendants Lime and Doe(s), acting jointly and/or severally

                    and/or independently and/or in concert, and the resulting injury, Plaintiff has lost

                    or had impaired the use of his physical faculties, suffered pain and mental

                    anguish, embarrassment, humiliation and fright and will continue to suffer in

                    the future.




                                                       12
         Case:  2:20-cv-05511-MHW-EPD
          Franklin                          Doc
                   County Ohio Clerk of Courts    #: 3Common
                                               of the  Filed: 10/20/20  Page:
                                                               Pleas- 2020 Sep 13 of 21PM-20CV006061
                                                                               143:08    PAGEID #: 70
0F241 - D97




                 65. As a direct and proximate result of the aforementioned negligence and/or gross

                     negligence of Defendants Lime and Doe(s), acting jointly and/or severally

                     and/or independently and/or in concert, and the resulting injury, Plaintiff has

                     lost income and is reasonably expected to suffer a loss of future income and

                     has had his future earning capacity Unpaired.

           COUNT THREE:

                 66. Plaintiff incorporates herein the allegations contained in paragraphs one (1)

                     through sixty-five (65) above as if fully rewritten herein.

                 67. Defendant Lime and/or Doe(s) was/were negligent in deploying or providing for

                     Plaintiffs use a scooter in an unreasonably dangerous condition.

                 68. Defendant Lime and/or Doe(s) was/were negligent in deploying or providing for

                     Plaintiff's use a scooter which dangers were not obvious to persons such as

                     Plaintiff.   .

                 69. Defendant Lime and/or Doe(s) knew or should have known that the scooter was

                     dangerous to Plaintiff or persons using the scooter.

                 70. Defendant(s) Lime and Doe(s) were negligent in failing to warn or advise Plaintiff

                    of the danger presented by the scooter or similar scooters and the susceptibility

                    to suffer a structural failure or that it and similar scooters had been subject to

                     recalls for doing so.

                 71. As a direct and proximate result of the aforementioned joint and/or several

                     negligence and/or gross negligence of Defendant Lime and Defendant Doe(s)

                    Plaintiff suffered serious physical injuries as set forth and incorporated herein;

                    some of said injuries which are and may be permanent in nature.



                                                         13
          Franklin
        Case:
0F241 - D98
               2:20-cv-05511-MHW-EPD        Doc
                   County Ohio Clerk of Courts    the3Common
                                               of #:           Pleas- 2020
                                                       Filed: 10/20/20     Sep14
                                                                       Page:   14 of 21PM-20CV006061
                                                                                  3:08   PAGEID #: 71



                 72. As a direct and proximate result of the aforementioned joint and/or several

                     negligence and/or gross negligence of Defendant Lime and Defendant Doe(s),

                     Plaintiff incurred expenses for medical treatment and hospital expenses as set

                     forth and incorporated herein and may incur additional expenses for medical

                     treatment in the future. Some of said expenses may be subrogated.

                 73. As a direct and proximate result of the aforementioned joint and/or several

                     negligence and/or gross negligence of Defendant Lime and Doe(s), Plaintiff

                     has lost or had impaired the use of his physical faculties, suffered pain and

                     mental anguish, embarrassment, humiliation and fright and will continue to

                     suffer in the future.

                 74. As a direct and proximate result of the aforementioned joint and/or., several

                     negligence and/or gross negligence of Defendant Lime and Doe(s) and

                     resulting injury, Plaintiff has lost income and is reasonably expected to suffer a

                     loss of future income and has had his future earning capacity impaired.

           COUNT FOUR:

                 75. Plaintiff incorporates herein the allegations contained in paragraphs one (1)

                    through seventy-four (74) above as if fully rewritten herein.

                 76. In the alternative and/or addition to aforementioned negligence and/or gross

                     negligence, Defendant Lime and/or Doe(s) acting jointly and/or severally and/or

                     individually and/or independently and/or in concert, was/were negligent in failing

                    to use ordinary and reasonable care to maintain and keep the scooter in safe

                    and operational condition and to protect Plaintiff while Plaintiff was operating the

                    scooter.



                                                       14
         Case:  2:20-cv-05511-MHW-EPD
          Franklin                          Doc
                   County Ohio Clerk of Courts    #: 3Common
                                               of the  Filed: 10/20/20  Page:
                                                               Pleas- 2020 Sep15 of 21PM-20CV006061
                                                                              14 3:08   PAGEID #: 72
0F241 - D99




                 77. The scooter is not to break in two during operation.

                 78. As the direct and proximate result of the negligence and/or gross negligence and

                    failure(s) of Defendant Lime and Defendant Doe(s), acting jointly and/or severally

                    and/or independently and/or in concert and/or individually, the scooter suffered a

                    structural failure, broke in two, and Plaintiff suffered serious injury.

                 79. As a direct and proximate result of the aforementioned failures, omissions and

                     negligence and/or gross negligence of Defendant Lime and/or Defendant

                     Doe(s), acting jointly and/or severally and/or independently and/or in concert

                    and/or individually, Plaintiff suffered serious physical injuries, some of said

                     injuries which are and may be permanent in nature.

                 80. As a direct and proximate result of the aforementioned failures, omissions and

                     negligence, and/or gross negligence of Defendant Lime and/or Defendant

                    Doe(s), Plaintiff incurred medical expenses for medical treatment and hospital

                    expenses and may incur additional expenses for medical treatment in the future.

                    Some of said expenses may be subrogated.

                 81. As a direct and proximate result of the aforementioned failures, omissions and

                    negligence and/or gross negligence of Defendant Lime and/or Defendant

                    Doe(s), and the resulting injury, Plaintiff has lost the use of his physical

                    faculties, suffered pain and mental anguish, embarrassment, humiliation and

                    fright and will continue to suffer in the future.

                 82.As a direct and proximate result of the aforementioned failures, omissions and

                    negligence and/or gross negligence of Defendant Lime and/or Defendant

                    Doe(s), and resulting injury, Plaintiff has lost income and is reasonably



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          Franklin
        Case:      County Ohio Clerk of Courts
               2:20-cv-05511-MHW-EPD        Docof #:
                                                  the3Common
                                                      Filed: 10/20/20  Page:
                                                               Pleas- 2020 Sep16
                                                                               14of 21PM-20CV006061
                                                                                 3:08  PAGEID #: 73
0F241 - El




                    expected to suffer a loss of future income and has had his future earning

                    capacity impaired.

           COUNT FIVE

                 83. Plaintiff incorporates herein the allegations contained in paragraphs one (1)

                    through eighty-two (82) above as if fully rewritten herein.

                 84. Defendant Lime and/or Defendant Doe(s) is/are a principal distributor(s) and/or

                    manufacturer(s) and/or supplier(s) of the type of scooter being operated by

                    Plaintiff at the time of his injury.

                85. Defendant Lime represents in its advertising, on its web site, and elsewhere,

                    among other things, that the design and operation of the scooters it deploys is

                    safe.

                86. Defendant Lime and/or Defendant Doe(s) deployed a defective and unsafe

                    scooter that caused the injury to Plaintiff when the scooter suffered a structural

                    failure.

                87.At the time Plaintiff was operating the defective scooter deployed by

                    Defendant Lime and/or Defendant Doe(s), Plaintiff was using the product in

                    the manner in which it was intended.

                88.As a direct and proximate result of the aforementioned failures, omissions

                    and/or negligence and/or gross negligence of Defendant Lime and/or

                    Defendant Doe(s), acting jointly and/or severally and/or independently and/or

                  • in concert and/or individually, Plaintiff suffered serious physical injuries, some

                    of said injuries which are and may be permanent in nature.




                                                           16
          Case:  2:20-cv-05511-MHW-EPD
           Franklin                          Doc
                    County Ohio Clerk of Courts    #: 3Common
                                                of the  Filed: 10/20/20  Page:
                                                                Pleas- 2020 Sep17 of 21PM-20CV006061
                                                                               143:08    PAGEID #: 74
0F241. - E2




                 89.As a- direct and proximate result of the aforementioned failures, omissions

                     and/or negligence and/or gross negligence of Defendant Lime and/or

                     Defendant Doe(s), acting jointly and/or severally and/or independently and/or

                     in concert and/or individually, Plaintiff incurred medical expenses for medical

                     treatment and hospital expenses and may incur additional expenses for

                     medical treatment in the future. Some of said expenses may be subrogated.

                 90.As a direct and proximate result of the aforementioned, failures, omissions

                     and/or negligence and/or gross negligence of Defendant Lime and/or

                     Defendant Doe(s), acting jointly and/or severally and/or independently and/or

                     in concert and/or individually, and the resulting injury, Plaintiff has lost the use

                     of his physical faculties, suffered pain and mental anguish, embarrassment,

                     humiliation and fright and will continue to suffer in the future.

                 91. As a direct and proximate result of the aforementioned failures, omissions

                     and/or negligence and/or gross negligence of Defendant Lime and/or

                     Defendant Doe(s), acting jointly and/or severally and/or independently and/or

                     in concert and/or individually, and the resulting injury, Plaintiff has lost income

                     and is reasonably expected to suffer a loss of future income and has had his -

                    future earning capacity impaired.

           COUNT SIX

                 92. Plaintiff incorporates herein the allegations contained in paragraphs one (1)

                     through ninety-one (91) above as if fully rewritten herein.

                 93.As a direct and proximate result of the defective Thanufacture of the scooter by

                     Defendant Lime, who is/was at all pertinent times herein a manufacturer or



                                                         17
          Franklin
        Case:      County Ohio Clerk of Courts
               2:20-cv-05511-MHW-EPD        Docof #:
                                                  the3Common   Pleas- 2020
                                                       Filed: 10/20/20     Sep18
                                                                        Page: 14 of
                                                                                 3:08
                                                                                    21PM-20CV006061
                                                                                        PAGEID #: 75
0F241 - E3




                     supplier as defined in RC § 23017.71, Plaintiff sustained the injuries, and

                    suffered the damage(s) and loss(es), described herein above and incorporated

                     herein by reference.

                 94. Plaintiff is expected to continue to suffer said injury, damage and loss into the

                    future.

           COUNT SEVEN

                 95. Plaintiff incorporates herein the allegations of paragraphs one (1) through

                    ninety-four (94)as if fully rewritten herein.

                 96.As a direct and proximate result of the failure to warn or instruct as to the

                    susceptibility of structural failure, including the breaking of the baseboard also

                    known as the foot platform, of the scooter by Defendant Lime, who is/was at all

                    pertinent times herein a manufacturer or supplier as defined in RC § 23017.71,

                    Plaintiff sustained the injuries, and suffered the damage(s) and loss(es),

                    described herein above and incorporated herein by reference.

                 97. Plaintiff is expected to continue to suffer said injury, damage and loss into the

                    future.

           COUNT EIGHT

                 98. Plaintiff incorporates herein the allegations of paragraphs one (1) through

                    ninety-seven (97) as if fully rewritten herein.

                99.The scooter deployed by Defendant Lime and/or Defendant Doe(s) and

                    operated by Plaintiff was defective due to nonconformance with the

                    representations made by Defendants.




                                                        18
         Case:  2:20-cv-05511-MHW-EPD
          Franklin                          Doc
                   County Ohio Clerk of Courts    #: 3Common
                                               of the  Filed: 10/20/20  Page:
                                                               Pleas- 2020 Sep19 of 21PM-20CV006061
                                                                              143:08    PAGEID #: 76
0F241 - E4




                 100.    The scooter did not conform to the representations made by Defendant(s)

                    that it was safe and fit for the purpose to which Plaintiff would use the scooter

                    and that it would not suffer a structural failure.

                 101.    As a direct and proximate result of the nonconformance with the

                     representations made, Plaintiff sustained the injuries, and suffered the

                    damage(s) and loss(es), described herein above and incorporated herein by

                    reference.

                 102.    100. Plaintiff is expected to continue to suffer said injury, damage and loss

                     into the future.

                 - WHEREFORE, Plaintiff, Moshe Scheinbach, demands judgment as follows:

                  Judgment against Defendants, Neutron Holdings Inc. dba Lime and John Doe(s),

           jointly and severally, or in the alternative individually, for (i) compensatory and punitive

           damages as provided in §2307.79 of The Products Liability Act, Ohio Revised Code

           §2307.71 through §2307.80; and/or (ii) in an amount in excess of Twenty Five

           Thousand and 00/100 Dollars ($25,000.00) as compensatory damages and, where

           appropriate, in an amount in excess of Twenty Five Thousand and 00/100 Dollars

          ($25,000.00) as punitive damages, plus attorneys' fees, pre and post judgment interest,

           and Plaintiff's expenses and costs of this action. -

                                              Respectfully submitted,

                                              HARRIS, MCCLELLAN, BINAU & COX, P.L.L.

                                              /S/ Garth G. Cox
                                              Garth G. Cox, of counsel
                                              Ohio Sup. Ct. Attorney Reg. No. 0017677
                                              GCox@HMBC.com
                                              37 West Broad Street, Suite 950
                                              Columbus, Ohio 43215

                                                        19
        Case:  2:20-cv-05511-MHW-EPD
          Franklin                          Doc
                   County Ohio Clerk of Courts of #:
                                                  the3Common
                                                       Filed: 10/20/20 Page:
                                                               Pleas- 2020 Sep20 of 21PM-20CV006061
                                                                               143:08   PAGEID #: 77
0F241 - E5




                                                Phone: (614)464-2572
                                                Telefax: (614)464-2245

                                                And

                                                Barkan Meizlish DeRose
                                                Wentz McInerney Peifer, LLP

                                               /s/ Jason C. Cox
                                               Jason C. Cox (0095169)
                                               Sanford A. Meizlish (0002620)
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                                               Columbus, Ohio 43215
                                               Phone: (614)221-4221
                                               Fax: (614) 744-2300
                                               smeizlish@barkanmeizlish.com
                                               jcox@barkanmeizlish.com

                                               And

                                                Heit Law, LLC

                                               /s/R. Corey Heit
                                                R. Corey Heit (0091996)
                                               647 Park Meadow Rd. Suite M
                                                Westerville, Ohio 43081
                                               Phone:(614)898-5300
                                               Fax: (877)811-1374
                                               Cheit@heitlawlIc.corn


                                               Attorneys for Plaintiff Moshe Scheinbach


                                           DEMAND FOR JURY TRIAL

           Plaintiff hereby demands a jury trial with 8 jurors as to all issues in this action.


                                               /s/Jason C. Cox
                                               Jason C. Cox (0095169)
          Franklin
         Case:     County Ohio Clerk of Courts
                2:20-cv-05511-MHW-EPD       Doc   #: 3Common
                                               of the  Filed: 10/20/20  Page:
                                                               Pleas- 2020    14 3:08
                                                                           Sep21 of 21PM-20CV006061
                                                                                        PAGEID #: 78
OF241 - E6



                           In the Court of Common Pleas,Franklin County, Ohio, General Division
           Moshe Scheinbach
                                         Plaintiff/Appellant,


           VS.                                                           Case No.
           Neutron Holdings, Inc. dba
                                         Defendant/Appellee,

                                                Civil Case Filing Information Summary

           Type of Action/Case Classification:
                      Professional Tort(Type A)                          Product Liability(Type B)
                    ($225.00 Security Deposit Required)                 ($225.00 Security Deposit Required)

                    Other Torts(Type C)                                   Workers Compensation (Type D)
                    ($225.00 Security Deposit Required)                 ($225.00 Security Deposit Required)

                    Foreclosure(Type E)                                  Administrative Appeal(Type F)
                    ($300.00 Security Deposit Required)                 ($100.00 Security Deposit Required)

                      All Other Civil Cases(Type H)                       Cognovit Confession of Judgment(H)
                    ($225.00 Security Deposit Required)                 ($100.00 Security Deposit Required)

           JURY DEMAND?                            Yes                   Total Security Deposit $ 525.00
          ($300.00 Additional Security Deposit Required) (Yes or No)

           Is a TEMPORARY RESTRAINING ORDER being requested at this time?                                      No
                                                                                                                      (Yes or No)
           Is this a case in which ALL the issues presented are a result ofthe
           defendant(s) having signed and defaulted on a COGNOVIT NOTE?                                            No
           Is this a FORCIBLE ENTRY AND DETAINER case?                                                         No (Yes"N°)
                                                                                                                    (Yes or No)
           Does this case include allegations of CONSUMER SALES PRACTICES
           ACT violations under Chapter 1345 or any other statutory consumer
           protection provision ofthe Ohio Revised Code?                                                       I NO
                                                                                                                    (Yes or No)
           Railing Information:

           If this is a REFILING ofa previously dismissed case, please complete the following:
           Previous Case No.                                             Original Judge

           Attorney/Party Signature                                      Attorney Ohio Sup. Ct. Registration No.



           Attorney/Party Name(Type or Print)                            Telephone Number



           Mailing Address                                               Facsimile Number



           City                                    State     Zip Code
